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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JUAN BALDERAS,                                              §
                                                            §
                                      Petitioner,           §
        v.                                                  § ACTION NO.: 4:20-CV-4262
                                                            § JUDGE ALFRED H. BENNETT
                                                            §
BOBBY LUMPKIN,                                              §
                                                            § DEATH PENALTY CASE
     Director, Texas Department of Criminal Justice,        §
     Institutional Division,                                §
                                      Respondent.           §


                PETITIONER’S MOTION FOR AN EXTENSION OF TIME
                 TO FILE AN AMENDED HABEAS CORPUS PETITION

        Petitioner Juan Balderas, by and through undersigned counsel, requests a 90-day extension

of time to file his amended habeas corpus petition for the reasons stated below. Respondent

opposes this request. Pursuant to the Revised Scheduling Order dated October 15, 2021 (the

“Revised Scheduling Order”), Petitioner’s amended petition is presently due on January 17, 2021.

(ECF No. 32).

I.      RELEVANT BACKGROUND

        Juan Balderas, an inmate on Texas’ death row, filed a federal petition for a writ of habeas

corpus on December 15, 2020. (ECF No. 2). The Court entered the first revised scheduling order

on July 6, 2021, providing that that Mr. Balderas shall file an Amended Petition for Writ of Habeas

Corpus by October 18, 2021. (ECF No. 27, at ¶ 2). The Court subsequently entered the Revised

Scheduling Order on October 15, 2021, providing that Mr. Balderas shall file an Amended Petition

for Writ of Habeas Corpus by January 17, 2022. (ECF No. 32).
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       The Revised Scheduling Order states that “[i]n the event that counsel believes it is impeded

by exigent circumstances and is unable to comply with the filing deadline, it will inform

Respondent’s counsel before December 17, 2021, and the parties shall promptly confer regarding

a proposed revised scheduling order. In the event the parties cannot agree, Balderas may file an

appropriate motion for an extension by January 3, 2022.” (ECF No. 32, at ¶ 2.)

       In accordance with Revised Scheduling Order Paragraph 2, on December 17, 2021, counsel

for Mr. Balderas informed Respondent that they have been impeded by exigent circumstances and

requested its agreement to a 90-day extension of time for Mr. Balderas to file an Amended Petition

for Writ of Habeas Corpus. Respondent responded that it is opposed to this extension. On

December 30, 2021, counsel contacted Respondent again about an extension of time with

additional information. Respondent again stated that it was opposed to an extension of time.

(See Declaration of Marc A. Silverman (“Silverman Decl.”), Ex. 1).

II.    ARGUMENT

       Under Paragraph 2 of the Revised Scheduling Order, the Court may grant an extension of

time if counsel is “impeded by exigent circumstances.” (ECF No. 32, at ¶ 2.) As explained below,

counsel has been so impeded despite its reasonable diligence in attempting to conduct

psychological evaluations of Mr. Balderas to incorporate into the amended petition.

       First, at the time counsel for Mr. Balderas reached out to Respondent regarding the current

scheduling order in September 2021, counsel informed Respondent that Mr. Balderas’ mental

health experts were attempting to conduct necessary follow-up evaluations of Mr. Balderas.

(Silverman Decl., at ¶ 3, Ex. 1.)

              On August 19, 2021, Mr. Balderas’ expert Dr. Bhushan S. Agharkar provided

               conclusions from his evaluation of Mr. Balderas that identified potential




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               neurological impairment that included parietal lobe brain damage and dysfunction.

               Dr. Agharkar therefore recommended a full neuropsychological battery be

               performed to identify the presence and extent of any organic brain damage. (Id., at

               ¶ 4.)

              On August 25, 2021, counsel retained Dr. Robert H. Ouaou to conduct an in-person

               neuropsychological test. Due to the ongoing COVID-19 pandemic and scheduling

               issues at the Polunsky Unit at Texas Department of Criminal Justice (“Polunsky”)

               where Mr. Balderas is housed, Dr. Ouaou was not able to conduct an in-person

               neurological evaluation until October 15, 2021. Dr. Ouaou then provided his

               assessment on November 18, 2021, and Dr. Agharkar incorporated that assessment

               to his on November 27, 2021. (Id., at ¶ 5.) On November 30, 2021, counsel

               attempted to schedule a phone call with Mr. Balderas through Randi Chavez of

               Texas Defenders, who the undersigned counsel hired as a mitigation expert with

               extensive experience in death penalty cases to assist counsel in meeting with Mr.

               Balderas, report on her impressions, and work with our mental health experts. (ECF

               No. 2, at ¶ 50); Silverman Decl., at ¶ 6.) Due to scheduling issues at Polunsky,

               which we understand were caused by an unprecedented influx of attorney calls as

               a result of the ongoing COVID-19 pandemic, and Ms. Chavez falling ill, counsel

               was unable to schedule a call with Mr. Balderas until December 17, 2021. (Id., at

               ¶ 7.)

       As a result of our December 17, 2021 discussion with Mr. Balderas and the recent

conclusions provided by Mr. Balderas’s experts, and to determine whether further testing is

necessary concerning his current and historical mental state as it relates to constitutional issues to




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be raised in the contemplated amended petition, we require more time to fully consult with Mr.

Balderas and his experts on the complex factual and legal aspects of this case and discuss the

revisions to his habeas corpus petition. We believe 90 days will be necessary to fully complete

our evaluation and prepare an amended petition. (Id. ¶ 8.)

       Second, granting this request will not prejudice Respondent. And in the context of this

high-stakes death penalty case, denial of this request for an extension of time would only prejudice

Mr. Balderas. As will be detailed in the Amended Petition, material constitutional issues have

been identified as a result of our expert evaluations of Mr. Balderas that will be raised in Mr.

Balderas’s Amended Petition, such as Mr. Balderas’s mental state at the time of trial, which raises

issues of competency to stand trial and ineffective assistance of counsel related to trial counsel’s

failure to adequately investigate Mr. Balderas’s mental state at the time of trial. As a result of

these recent expert conclusions, further time is necessary to consult with Mr. Balderas and his

experts concerning these issues and potentially conduct further testing.

       Accordingly, counsel for Mr. Balderas respectfully requests an additional 90 days to file

an amended petition and submits a proposed revised scheduling order with this application.

Dated: January 3, 2022                        Respectfully submitted,

                                              DLA PIPER LLP (US)

                                              By: /s/ Ashley Allen Carr

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** Admitted Pro Hac Vice




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                             CERTIFICATE OF CONFERENCE

       I certify that on December 17, 2021, I emailed Respondent’s counsel, Ali Nasser, about

this request for an extension of time to file an amended habeas corpus petition and he stated that

the State was opposed. On December 30, 2021, I contacted Mr. Nasser again about an extension

of time with additional information. Mr. Nasser again stated the State was opposed.



                                                             /s/ Marc A. Silverman____________
                                                             Marc A. Silverman**
                                                             With permission by Ashley Allen
                                                             Carr (Tex. Bar. No. 24082619),
                                                             Attorney in Charge, LR 11.3

** Admitted Pro Hac Vice




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                               CERTIFICATE OF SERVICE

       I certify that on January 3, 2022, a true copy of the foregoing Motion for an Extension of

Time to File an Amended Habeas Corpus Petition was served via the ECF/CM system and emailed

to the following recipients:

       Ali Nasser
       Office of the Attorney General
       300 W. 15th Street
       Austin, Texas 78701
       ali.nasser@oag.texas.gov



                                                           /s/ Ashley Allen Carr
                                                           Ashley Allen Carr (Tex. Bar No.
                                                           24082619)




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